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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                           Crim. No. 13-273 (SRN/JJK)

Plaintiff,

v.
                                                     REPORT AND RECOMMENDATION
(2) Moran Oz;
(3) Babubhai Patel;
(8) Elias Karkalas;
(9) Prabhakara Rao Tumpati;

Defendants.


Linda I. Marks, Esq., Roger Gural, Esq., Jacqueline Blaesi-Freed, Esq., United States
Department of Justice, Consumer Protection Branch, counsel for Plaintiff.

Joseph S. Friedberg, Esq., Joseph S. Friedberg, Chartered, and Robert D. Richman, Esq., counsel
for Defendant (2) Moran Oz.

Brian N. Toder, Esq., Chestnut Cambronne, PA, counsel for Defendant (3) Babubhai Patel.

John C. Brink, Esq., and Daniel L. Gerdts, Esq., counsel for Defendant (8) Elias Karkalas.

Paul Daniel Schneck, Esq., Paul Daniel Schneck, LTD, counsel for Defendant (9) Prabhakara
Rao Tumpati.


JEFFREY J. KEYES, United States Magistrate Judge

        In this case, the government charges several defendants with conspiring to violate the

Food Drug and Cosmetics Act, introducing misbranded drugs into interstate commerce,

conspiring to commit mail fraud and wire fraud, committing mail fraud and wire fraud,

unlawfully distributing and dispensing controlled substances, conspiring to launder money, and

conspiring to distribute a controlled substance. Defendants (2) Moran Oz, (3) Babubhai Patel,

(8) Elias Karkalas, and (9) Prabhakara Rao Tumpati have moved to dismiss certain counts in the
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Indictment. These motions include Karkalas and Tumpati’s motions to dismiss certain counts as

void for vagueness (Doc. Nos. 339, 379), Karkalas and Oz’s motions to dismiss certain counts

for failure to state an offense (Doc. Nos. 340, 377), Tumpati’s motion to dismiss (Doc. No. 380),

Patel’s motion to join (Doc. No. 417), Karkalas’s motion to dismiss certain counts for violating

due process rights (Doc. No. 353), and Oz’s motion to dismiss duplicative counts (Doc.

No. 376). The Government also moved to dismiss certain counts, acknowledging that some of

the counts in the Indictment are duplicative. (Doc. No. 395.) The Court held a hearing on the

motions on December 8, 2015. Elias Karkalas testified on his own behalf to facts relevant to his

due-process motion. The Court also received post-hearing briefing relating to several of the

motions. Based on the motions and submissions prior to the hearing, the argument and

testimony presented at the hearing, and on the post-hearing briefing, the Court now makes the

following report and recommendation.1 See 28 U.S.C. § 636; D. Minn. LR 72.1.

I.     Karkalas’s and Oz’s Motions to Dismiss Certain Counts for Failure to State an
       Offense at Docket Numbers 340 and 377 and Patel’s Motion to Join at Docket
       Number 417

       Karkalas, Oz, and Patel move to dismiss the counts of the Indictment which accuse them

of violating the Controlled Substance Act (“CSA”) by distributing a drug named Fioricet. They

contend that as a matter of law the Indictment fails to allege that any criminal offense occurred.

(See Doc. Nos. 340, 377, 417, 436.) Rule 12 of the Federal Rules of Criminal Procedure

provides that a defendant asserting that an indictment fails to state an offence must do so by a

pretrial motion, Fed. R. Crim. P. 12(b)(3)(B)(v), as Defendants have done here. In the Eighth

Circuit:



1
       This Court has also issued a separate Report and Recommendation addressing motions to
suppress certain statements and for severance of the defendants’ trials.


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               An indictment adequately states an offense if: it contains all of the
       essential elements of the offense charged, fairly informs the defendant of the
       charges against which he must defend, and alleges sufficient information to allow
       a defendant to plead a conviction or acquittal as a bar to a subsequent prosecution.
       An indictment will ordinarily be held sufficient unless it is so defective that it
       cannot be said, by any reasonable construction, to charge the offense for which
       the defendant was convicted.

United States v. Hayes, 574 F.3d 460, 472 (8th Cir. 2009) (quoting United States v. Sewell, 513

F.2d 833, 834 (8th Cir. 2008) (quotation marks omitted)). The indictment must allege that the

defendant engaged in conduct which “would constitute a violation of the law under which he has

been charged.” United States v. Polychron, 841 F.2d 833, 834 (8th Cir. 1988). Thus, if the

conduct alleged in the indictment does not constitute a criminal offense, then the indictment

should be dismissed. United States v. Finn, 919 F. Supp. 1305, 1339 (D. Minn. 1995) (citing

United States v. Coia, 719 F.2d 1120, 1123 (11th Cir. 1983)).

       The Government has charged Karkalas, Oz, and Patel with violating the CSA by

delivering, distributing, or dispensing Fioricet, which the Government asserts is a controlled

substance. (See Doc. No. 5, Indict., Counts 61–72, ¶¶ 1–6;2 id., Counts 73–83.) The CSA

charges involve several statutory provisions. In relevant part, the CSA provides that “it shall be

unlawful for any person knowingly or intentionally to . . . distribute, or dispense . . . a controlled

substance,” unless that conduct is authorized by the CSA’s provisions. 21 U.S.C. § 841(a)(1).

Further, under the CSA it is “unlawful for any person to knowingly or intentionally . . . deliver,

distribute, or dispense a controlled substance by means of the Internet, except as authorized by

this subchapter.” 21 U.S.C. § 841(h)(1)(A). Prohibited conduct involving Internet distribution



2
       Although the Court recommends that Counts 61–72 be dismissed, see Part V, infra, it
does so with the caveat that paragraphs 1 through 6 laid out in the corresponding section of the
Indictment should not dismissed in light of their incorporation into other portions of the
Indictment.


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of controlled substances includes “writing a prescription for a controlled substance for the

purpose of delivery, distribution, or dispensation by means of the internet in violation of section

829(e) of [Title 21].” 21 U.S.C. § 841(h)(2)(B).3 In turn, Section 829(e) requires controlled

substances to be distributed to individuals only where there is a valid prescription, which

requires a prescription to be “issued for a legitimate medical purpose in the usual course of

professional practice by . . . a practitioner who has conducted at least 1 in-person medical

evaluation of the patient.” 21 U.S.C. §§ 829(e)(1)–(2); see also id. § 829(e)(2)(B) (further

defining an “in-person medical evaluation” as one that is “conducted with the patient in the

physical presence of the practitioner”).

       In addition, a person violates the CSA’s proscription on delivering, distributing, or

dispensing controlled substances if he knowingly or intentionally delivers, distributes, or

dispenses a controlled substance “by means of the Internet by an online pharmacy that is not

validly registered with a modification authorizing such activity as required by section 823(f) of

[Title 21.]” 21 U.S.C. § 841(h)(2)(A). The CSA also requires online pharmacies to display

certain information on their websites, including:

       (1) The name and address of the pharmacy as it appears on the pharmacy’s [DEA]
           certificate of registration.

       (2) The pharmacy’s telephone number and email address.

       (3) The name, professional degree, and States of licensure of the pharmacist-in-
           charge, and a telephone number at which the pharmacist-in-charge can be
           contacted.

       (4) A list of States in which the pharmacy is licensed to dispense controlled
           substances.

3
        Examples of Internet activities that violate the CSA also include “offering to fill a
prescription for a controlled substance based solely on a consumer’s completion of an online
medical questionnaire.” 21 U.S.C. § 841(h)(2)(D).


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        (5) A certification that the pharmacy is registered under [Part C, Subchapter I,
            Chapter 13, of Title 21 of the United States Code] to deliver, distribute, or
            dispense by means of the Internet controlled substances.

        (6) The name, address, telephone number, professional degree, and states of
            licensure of any practitioner who has a contractual relationship to provide
            medical evaluations or issue prescriptions for controlled substances, through
            referrals from the website or at the request of the owner or operator of the
            website, or any employee or agent thereof.

        (7) The following statement, unless revised by the Attorney General by
            regulation: “This online pharmacy will only dispense a controlled substance to
            a person who has a valid prescription issued for a legitimate medical purpose
            based upon a medical relationship with a prescribing practitioner. This
            includes at least one prior in-person medical evaluation or medical evaluation
            via telemedicine in accordance with applicable requirements of section 309.”.

21 U.S.C. § 831.

        Beyond these statutory provisions, the Indictment also asserts that Karkalas, Oz, and

Patel engaged in conduct that ran afoul of regulations promulgated by the Administrator of the

Drug Enforcement Agency (“DEA”). (Indict., Counts 61–72 ¶ 4.) By virtue of its administrative

rulemaking authority, the DEA promulgated 21 C.F.R. § 1306.04. This regulation requires

prescriptions for controlled substances to “be issued for a legitimate medical purpose by an

individual practitioner acting in the usual course of his professional practice,” and places a duty

upon the “prescribing practitioner” to ensure that controlled substances are properly prescribed.

Id. § 1306.04(a). If a practitioner issues a controlled substance prescription “not in the usual

course of professional treatment,” such an order “is not a prescription within the meaning and

intent of . . . (21 U.S.C. § 829) and . . . the person issuing it, shall be subject to the penalties

provided for violations of the provisions of law relating to controlled substances.” Id.

        The foregoing sections of the CSA and the corresponding regulation relating to the

legitimacy of controlled substance prescriptions, all of which are identified in the Indictment,



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cover the precise unlawful conduct charged to Karkalas, Oz, and Patel. The Indictment asserts

that these Defendants (and others):

       knowingly and intentionally delivered, distributed, and dispensed, and aided and
       abetted the delivery, distribution, and dispensing, of controlled substances
       [including Fioricet] by means of the Internet: (a) with invalid prescriptions that
       were issued outside of the usual course of professional practice, and were not for
       a legitimate medical purpose; (b) by an online pharmacy that was not validly
       registered with the DEA with a modified registration authorizing such activity;
       and (c) by an online pharmacy that did not display on its website the information
       required by 21 U.S.C. § 831[.]

(Indict., Counts 73–83 ¶ 7.) This language in the Indictment tracks the language of the

applicable statutes and regulations, and this is a strong basis on which to conclude the Indictment

sufficiently states an offense. See Hamling v. United States, 418 U.S. 87, 117 (1974) (“It is

generally sufficient that an indictment set forth the offense in the words of the statute itself, as

long as those words of themselves fully, directly, and expressly, without any uncertainty or

ambiguity, set forth all the elements necessary to constitute the offence intended to be

punished.”) (quotations omitted).

       Karkalas, Oz, and Patel’s arguments are directed at a single element of the CSA charges.

These defendants argue that the charged conduct involving the combination drug Fioricet does

not involve a “controlled substance,” and therefore does not state a criminal offense. They

contend that because Fioricet is not included in any of the DEA’s Schedules of controlled

substances and is listed on the DEA’s Exempt Prescription Products List, Fioricet has been

specifically excepted from the criminal provisions of the CSA. (See Doc. No. 340 at 2; Doc. No.

377 at 1; Doc. No. 436 at 2–12.) Karkalas, Oz, and Patel’s arguments implicate a provision of

the CSA that allows the DEA to exempt certain drugs from application of all or any part of the

CSA and a regulation by which, according to these defendants, the DEA exempted Fioricet from

any of the criminal penalties that could otherwise be imposed for controlled substance violations.

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        Section 811 of Title 21 of the United States Code authorizes the DEA, through the

Attorney General’s proper delegation, to “exempt any compound, mixture, or preparation

containing a controlled substance from the application of all or any part” of Subchapter I of the

of the Controlled Substances Act. 21 U.S.C. § 811(g)(3) (“The Attorney General may, by

regulation, exempt any compound, mixture, or preparation containing a controlled substance

from the application of all or any part of this subchapter if he finds” certain criteria are satisfied).

Pursuant to that authority, the DEA enacted a valid regulation providing that certain

“compounds, mixtures, or preparations that contain a nonnarcotic controlled substance [including

Fioricet4]” have “been exempted by the Administrator from the application of sections 302

through 305, 307 through 309, and 1002 through 1004 of the Act (21 U.S.C. 822-825, 827-829,

and 952-954) and §§ 1301.13, 1301.22, and §§ 1301.71 through 1301.76 of this chapter for

administrative purposes only.” 21 C.F.R. § 1308.32 (hereafter “the Exempting Regulation”).

The Exempting Regulation also refers to the “Table of Exempted Prescription Products,” which

is published by the DEA’s Office of Diversion Control and includes the drug Fioricet.

http://www.deadiversion.usdoj.gov/schedules/ exempt/exempt_rx_list.pdf.

        The language of the Exempting Regulations is plain and does not exempt Fioricet from

the criminal provisions of the CSA or the applicable regulations in the Indictment.5 The

Exempting Regulation flows from the DEA’s properly delegated statutory authority to exempt

certain compounds containing a controlled substance from the application of either the entire

4
        The Exempting Regulation includes a reference to 21 C.F.R. § 1308.13(c), which in turn
includes a reference at subparagraph (3) to “[a]ny substance which contains any quantity of a
derivative of barbituric acid or any salt thereof,” which includes Fioricet.
5
       Because the language of the Exempting Regulation is plain, the Court does not reach the
issue whether the DEA’s construction of the Exempting Regulation is entitled to deference. (See
Doc. No. 400, Gov’t’s Opp’n to Defs.’ Mots. to Dismiss for Failure to State an Offense 15–17.)


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CSA or any part of the CSA.6 The Exempting Regulation does the latter; it exempts Fioricet and

other drugs from specific and identified provisions of the CSA and the DEA’s regulations.

Nothing in the Exempting Regulation’s text suggests that a compound containing butalbital, a

derivative of barbituric acid, is exempted from any criminal provision of the CSA. The

Exempting Regulation does not, for example, exempt Fioricet from the application of 21 U.S.C.

§ 841, which forms the basis for the charges against these Defendants. Nor does the Exempting

Regulation include in its text a reference to the DEA’s regulations requiring valid prescriptions

for controlled substances, including for delivery by means of the Internet, which also underpin

the CSA charges in this case. See 21 C.F.R. §§ 1306.04, 1306.09. Had the DEA intended to

accomplish such an exemption from the CSA’s criminal provisions, it certainly could have

included language to that effect in the Exempting Regulation. It did not to do so.

       In addition, the DEA was explicit about the limited purposes for which the compounds,

mixtures, and preparations containing a nonnarcotic controlled substance listed in its text are to

be exempt. The Exempting Regulation provides that the covered drugs listed in several

regulations and those in the Table of Exempted Prescription Products are exempted from the

application of certain provisions of the CSA and other administrative rules “for administrative

purposes only.” This means that Fioricet is exempted from certain registration, labeling, record-

keeping, security, and packaging requirements imposed by the CSA. See United States v. Riccio,

43 F. Supp. 3d 301, 305 (S.D.N.Y. 2014) (“By its own terms [the Exempting Regulation]

provides an exemption limited to the registration, labeling, packaging, record-keeping and

security requirements delineated in a defined list of U.S.Code provisions.”); United States v.



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       Fioricet is a compound that contains butalbital, which is a derivative of barituric acid,
which is a Schedule III controlled substance. 21 U.S.C. § 812, Schedule III, (b)(1).


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Williams, No. Cr-10-216-HE, 2011 WL 4104654, at *1 (W.D. Okla. Sept. 14, 2011) (rejecting

defendants’ arguments that, based on the Exempting Regulation, Fioricet was not a controlled

substance). No reasonable construction of this “administrative purposes only” language can

transform this limited exemption in the Exempting Regulation into an exemption from the

criminal provisions and penalties laid out in provisions of the CSA that are absent from the

Exempting Regulation’s text.

       All of Defendants’ arguments to the contrary ignore or distort the plain language of the

Exempting Regulation. For example, Oz contends that by including Fioricet on the Exempt

Prescription Products List, the Attorney General “create[d] the exception referenced in [21

U.S.C.] § 812. . . .” (Doc. No. 436 at 3.) Following from this premise, he asserts that “[t]here is

no language in [the Exempting Regulation] that provides that the only statutory and regulatory

provisions from which exempted products are exempt are those listed in the regulation.” (Doc.

No. 436 at 4.) This argument is based on a flawed reading of both the relevant CSA provisions

and the Exempting Regulation itself. Under 21 U.S.C. § 811(g)(3), when the Attorney General

determines that a compound, mixture, or preparation qualifies for exception from all or any part

of the CSA, the Attorney General may exempt that drug “by regulation.” Pursuant to the

Attorney General’s authority to create an exemption under this statute, the Administrator of the

DEA promulgated the Exempting Regulation. The Exempting Regulation exempts certain

compounds, mixtures, and preparations containing nonnarcotic controlled substances listed in

five administrative rules and those that are on the Table of Exempted Prescription Products from

the application of ten sections of the CSA and eight sections of the DEA’s implementing

regulations. Thus, contrary to Oz’s argument, the inclusion of Fioricet on the Exempt

Prescription Products List did not create a broader exemption from the operation of the CSA. It



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is the Exempting Regulation that sets the boundaries of the executive branch’s exercise of

statutory authority for an exemption, and the inclusion of Fioricet on the Table of Exempted

Prescription Products makes it subject to the limited exceptions laid out in the formal

administrative rule.

       Oz further argues that his reading of the Exempting Regulation is buttressed by the

Exempting Regulation’s second sentence. (Doc. No. 436 at 4–5.) The second sentence of the

Exempting Regulation provides that “[a]n exception to the above is that those products

containing butalbital shall not be exempt from the requirement of 21 U.S.C. 952-954 concerning

importation, exportation, transshipment and in-transit shipment of controlled substances.” 21

C.F.R. § 1308.32. Oz asserts that since violations of Sections 952–54 carry with them criminal

penalties, see 21 U.S.C. § 960 (setting forth the punishments for violations of, inter alia, Sections

952–953), “[i]f § 1308.32 applies only to non-criminal, administrative matters, there would be no

reason explicitly to include exempted prescription products containing butalbital within the

ambit of §§ 952-954.” (Doc. No. 436 at 4–5.) This argument also misconstrues the language

and effect of the second sentence in the Exempting Regulation. To reiterate, the Exempting

Regulation provides that certain compounds, mixtures, and preparations containing nonnarcotic

controlled substances (including those that contain butalbital) are exempt from the application of

several identified provisions of the CSA for administrative purposes only. The second sentence

then carves out a further limitation on this exemption. Pursuant to that second sentence, among

the nonnarcotic-controlled-substance-containing drugs to which the Exempting Regulation

applies, those containing the controlled substance butalbital “shall not be exempt from the

requirement of 21 U.S.C. 952-954 concerning importation, exportation, transshipment and in-

transit shipment of controlled substances.” 21 C.F.R. § 1308.32. Thus, the DEA created a



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regulation that in its first sentence excepts certain drugs from the application of sections 952–954

for administrative purposes only, and in its second sentence provides that such an exception for

administrative purposes from sections 952–9547 does not apply to any product containing

butalbital.8

        For these reasons, the Court concludes that the Indictment adequately states an offense

against Defendants Karkalas, Oz, and Patel by alleging that they engaged in conduct that violated

the CSA. Their motions to dismiss (Doc. Nos. 340, 377, 417) should be denied.

II.     Karkalas’s and Tumpati’s Motions to Dismiss Certain Counts as Void for
        Vagueness at Docket Numbers 339 and 379

        Defendants Karkalas and Tumpati both seek to dismiss several counts of the indictment

on grounds that the government has charged them with an offense that is void for vagueness.

(Doc. No. 339, Karkalas’s Void for Vagueness Mot.; Doc. No. 379, Tumpati’s Void for

Vagueness Mot.) The Counts that Karkalas seeks to have dismissed for unconstitutional

vagueness charge him with so-called “misbranding” offenses in violation of the Food Drug and

Cosmetics Act (“FDCA”), 21 U.S.C. § 331 and 18 U.S.C. § 371 (Indict., Counts 2-3, 8-9, 15-16,

20-21, and 23), and violations of the CSA, 21 U.S.C. § 841 (id., Counts 61-62, 68-69, 71-73, 80,

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        There are a number of administrative requirements applicable to the importation, 21
C.F.R. §§ 1312.11–1312.19, exportation, 21 C.F.R. §§ 1312.21–1312. 30, and transshipment and
in-transit shipment, 21 C.F.R. §§ 1312.31–1312.32, of controlled substances. In other words, the
effect of the second sentence of the Exempting Regulation is that compounds, mixtures, and
preparations containing butalbital are still subject to the administrative requirements laid out in
these regulations even though other compounds, mixtures, and preparations that contain a
different nonnarcotic controlled substance remain exempt.
8
       As the Government points out (Doc. No. 442 at 4–5 (explaining the history of the second
sentence’s addition to the Exempting Regulation)), the second sentence of the Exempting
Regulation was added in response to a decision by the Commission on Narcotic Drugs in 1991 to
“terminate the exemption by the Government of the United States of America of the preparations
containing butalbital as found in [the Exempting Regulation,]” Exempted Prescription Products,
57 Fed. Reg. 23301-01 (June 3, 1992).


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and 82-83). The government also charged Karkalas and Tumpati with a conspiracy to commit a

violation of the FDCA by “misbranding” drugs (id., Count 1),9 and Karkalas and Tumpati each

seek to have this Count dismissed as well (see Doc. No. 339 at 1 (listing Count 1 among the

challenged counts); Doc. No. 379 at 1 (same)). The Government opposes the motion, arguing

that the statutes defining the charged FDCA and CSA offenses are not so vague that an ordinary

person cannot understand what conduct is prohibited. (See Doc. No. 399, passim.)

       “The Fifth Amendment provides that ‘[n]o person shall . . . be deprived of life, liberty, or

property, without due process of law.” Johnson v. United States, ___ U.S. ___, 135 S. Ct. 2551,

2557 (2015). “[T]he government violates this guarantee by taking away someone’s life, liberty,

or property under a criminal law so vague that it fails to give ordinary people fair notice of the

conduct it punishes, or so standardless that it invites arbitrary enforcement.” Johnson, 135 S. Ct.

at 2557; Connally v. General Constr. Co., 269 U.S. 385, 391 (1926) (“[A] statute which either

forbids or requires the doing of an act in terms so vague that men of common intelligence must

necessarily guess at its meaning and differ as to its application, violates the first essential of due

process of law.”); United States v. Washam, 312 F.3d 926, 929 (8th Cir. 2002) (“‘[L]aws [must]

9
        In Count 24, which Tumpati argues should be dismissed (Doc. No. 379 at 1 (discussing
Count 24)), the government charged Tumpati with a mail and wire fraud offense. (Indict., Count
24.) But, as the Government points out (Doc. No. 399 at 1 n.2), Tumpati does not explain in his
vagueness motion why the mail and wire fraud allegations are unconstitutionally vague. As best
this Court can tell, Tumpati included the charges in Count 24 in his motion to dismiss because
the charge incorporates several paragraphs from Count 1, which charges Tumpati with
conspiring to violate the FDCA by distributing or dispensing misbranded drugs. Because this
Court concludes, as further described in this section of this Report and Recommendation, that the
misbranding charges included in the Indictment are not unconstitutionally vague, to the extent
Tumpati relies on his vagueness arguments as to Count 1 to support dismissal of the mail and
wire fraud charges laid out against him in Count 24, his motion should be denied. Tumpati’s
motion should also be denied to the extent that it seeks dismissal of any charges under the CSA
because the Government did not charge Tumpati with any offenses violating the CSA.
Therefore, in the discussion below addressing the alleged vagueness of the charges under the
CSA, the Court addresses only Karkalas’s motion.


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give the person of ordinary intelligence a reasonable opportunity to know what is prohibited, so

that he may act accordingly. Vague laws may trap the innocent by not providing fair warning.’”)

(quoting Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)) (alterations in Warsham).

Courts evaluating void-for-vagueness challenges apply “[t]he strong presumptive validity that

attaches to an Act of Congress,” and those “statutes are not automatically invalidated as vague

simply because difficulty is found in determining whether certain marginal offenses fall within

their language.” United States v. Nat’l Dairy Prods. Corp., 372 U.S. 29, 32 (1963).

        “‘[V]agueness challenges to a statute which do not involve First Amendment freedoms

must be examined in light of the facts of the case at hand.’” Warsham, 312 F.3d at 929 (quoting

United States v. Mazurie, 419 U.S. 544, 550 (1975)). “In determining whether a statute is

unconstitutionally vague on the facts at hand, [courts in the Eighth Circuit] apply a two-part

test.” Id. “First, the statute must provide adequate notice of the proscribed conduct.” Id.

“Second, the statute must not lend itself to arbitrary enforcement.” Id.

       A.      Controlled Substances Act

       In Counts 61–62, 68–69, 71–73, 79–80, and 82–83, the Government charges Karkalas

with unlawfully delivering, distributing, or dispensing a controlled substance, Fioricet, by

writing prescriptions for individuals based solely on their responses to an online questionnaire

filled out on the Internet. (Indict. 34–37, Counts 61-72 ¶¶ 5–7; id. at 38–41, Counts 73-83 ¶¶ 1–

6.) Among the controlled substances covered by the CSA is “[a]ny substance which contains

any quantity of a derivative of barbituric acid, or any salt of a derivative of barbituric acid.” 21

U.S.C. § 812, Schedule III, Part (b)(1). Fioricet contains Butalbital, which is a derivative of

barbituric acid. See id. The CSA provides that it is “unlawful for any person to knowingly or

intentionally . . . deliver, distribute, or dispense a controlled substance by means of the Internet,



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except as authorized by this subchapter” 21 U.S.C. § 841(h)(1)(A).10 The CSA further explains

that an example of such prohibited conduct includes “offering to fill a prescription for a

controlled substance based solely on a consumer’s completion of an online medical

questionnaire[.]” Id. § 841(h)(2)(D).

       Karkalas argues that “the Counts charging distribution or dispensing of Fioricet, pursuant

to 21 U.S.C. § 841, must be dismissed for the same reason that the law is so vague as to fail to

provide fair notice of the conduct prohibited.” (Doc. No. 339 at 5.) Karkalas contends that

because “Fioricet is not included in any of the referenced schedules . . . and is listed instead on

the list published by the Drug Enforcement Administration [“DEA”] of substances that have

been exempted from controlled substance scheduling . . . [o]rdinary persons . . . have no fair

notice that the possession, dispensing, and distribution of Fioricet are prohibited acts under

§ 841[.]” (Doc. No. 339 at 5–6; Doc. No. 379 at 5–6.)

       As discussed above, CSA allows the Attorney General to “exempt any compound,

mixture, or preparation containing a controlled substance from the application of all or any part”

of Subchapter I of the of the Controlled Substances Act. 21 U.S.C. § 811(g)(3) (“The Attorney

General may, by regulation, exempt any compound, mixture, or preparation containing a

controlled substance from the application of all or any part of this subchapter if he finds” certain

criteria are satisfied). The Exempting Regulation, issued by the DEA pursuant to its rulemaking

authority delegated by the Attorney General, provides that certain drugs, including Fioricet, have

10
        The Indictment also charges the defendants with violations of 21 U.S.C. § 841(a)(1),
which provides that “it shall be unlawful for any person knowingly or intentionally. . . to
manufacture, distribute, or dispense, or possess with intent to manufacture, distribute, or
dispense, a controlled substance.” In addition, the Indictment references a sentencing provision
of the CSA for violations of § 841(a)(1) that involve Schedule III controlled substances. 21
U.S.C. § 841(b)(1)(E). The discussion in Part I of this Report and Recommendation addressing
the motions to dismiss for failure to state an offense discusses the CSA charges in more detail.


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“been exempted by the Administrator from the application of sections 302 through 305, 307

through 309, and 1002 through 1004 of the Act (21 U.S.C. 822-825, 827-829, and 952-954) and

§§ 1301.13, 1301.22, and §§ 1301.71 through 1301.76 of this chapter for administrative purposes

only.” 28 C.F.R. § 1308.32. Further, the DEA also publishes an “Exempt Prescription Products

List,” which includes the drug Fioricet. http://www.deadiversion.usdoj.gov/schedules/exempt/

exempt_rx_list.pdf.

       There is nothing unconstitutionally vague about the provisions of the CSA that prohibit

the very conduct Karkalas is charged with in the Indictment,11 and nothing in either the

Exempting Regulation or the Exempt Prescription Products List renders these charges

unconstitutionally vague. The Exempting Regulation exempts Fioricet from the requirements of

limited portions of the CSA and does so “for administrative purposes only.” It does not exempt

Fioricet from all of the provisions of the CSA, though the CSA gives the DEA the power to do

so. See 21 U.S.C. § 811(g)(3) (authorizing the Attorney General to exempt any compound,

mixture, or preparation containing a controlled substance from the application of all or any part

of this subchapter”). The Exempting Regulation also does not exempt Fioricet from the specific

criminal provisions Karkalas is charged with violating. By the Exempting Regulation’s plain

terms, the DEA chose not to exempt Fioricet from the CSA’s prohibition on distributing or

dispensing controlled substances, 21 U.S.C. § 841(a)(1); doing so by means of an Internet

pharmacy based solely on a consumer’s completion of an online questionnaire, 21 U.S.C.

§§ 841(h)(1)(A) and 841(h)(2)(D); or from the penalties associated with such prohibited conduct



11
        Sections 841(a)(1), 841(b)(1)(E) and 841(h) of Title 21 of the United States Code plainly
and unambiguously cover the acts charged to Karkalas, namely prohibiting a person from
distributing or dispensing a controlled substance in a manner other than that allowed by the CSA.
Karkalas does not argue otherwise.


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when a Schedule III controlled substance is involved, 21 U.S.C. § 841(b)(1)(E). Finally, by

placing Fioricet on the Exempt Prescription Products List, the DEA did not somehow amend the

plain and unambiguous language of the Exempting Regulation. Nor did the DEA’s placement of

Fioricet on the Exempt Prescription Products List exempt from the application of the CSA as a

whole or from the criminal provisions in the CSA that Karkalas is charged with violating. A

person of ordinary intelligence would not read the Exempting Regulation and the Exempt

Prescription Products List together and conclude that the exemption for Fioricet from the

operation of the listed statutory and regulatory provisions for "administrative purposes only"

somehow further exempts Fioricet from unlisted provisions of the CSA that impose criminal

penalties.

       Other courts have rejected nearly identical vagueness challenges in cases involving

alleged violations of the CSA by delivering, distributing, or dispensing Fioricet. In United States

v. Riccio, 43 F. Supp. 3d 301 (S.D.N.Y. 2014), the Government charged several defendants with

violations of the CSA in an indictment alleging that the defendants participated in an internet

pharmacy scheme to distribute drugs to customers who visited various prescription websites. Id.

at 303. One defendant moved to dismiss the CSA charges against him, which specifically

alleged that he violated the prohibition on dispensing the controlled substance Fioricet by

offering to fill prescriptions for it based only on the customer’s completion of an online medical

questionnaire. Id. at 304. The defendant argued that charged offense was unconstitutionally

vague because the statute did not provide fair warning that dispensing Fioricet via prescription

website was prohibited conduct. See id. at 306–07. The Court rejected this argument,

concluding: (1) that the defendant (a trained pharmacist) was expected to be familiar with the

relevant laws because of the highly regulated nature of the prescription drug industry; (2) that



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because the CSA includes a specific intent requirement, any potential unconstitutional vagueness

was properly mitigated; and (3) that prior judicial opinions clarifying the applicability of the

CSA to the scheme alleged in the indictment provided the “clarity necessary for fair warning” as

required by the Due Process clause. Id. at 307; see also United States v. Williams, No. Cr-10-

216-HE, 2011 WL 4104654, at *4 (W.D. Okla. Sept. 14, 2011) (finding that it was “unnecessary

to invalidate the criminal provisions” under the CSA in a case alleging that the defendant

distributed Fioricet via an online pharmacy operated without a license because “[t]he specific

intent requirement for the crimes charged saves the statutes from potential unconstitutionality”).

These same reasons justify denying the vagueness motions directed at the CSA charges here.

       The defendants’ arguments that the CSA charges are unconstitutionally vague are

unpersuasive. The defendants have failed to show that the Exempting Regulation and the

inclusion of Fioricet in the Exempt Prescription Products List render any portion of the

Controlled Substances Act unconstitutionally vague.12 Accordingly, for all the foregoing

reasons, Karkalas’s and Tumpati’s motions to dismiss any charges under the CSA as

unconstitutionally vague should be denied.

12
         In his Motion to Dismiss Counts 61-83, Defendant Moran Oz contends that “because the
statute and regulations fail to provide fair warning to the public that a medication containing a
controlled substance that has been listed on the DEA Exempt Prescription Products List is
nonetheless subject to the prohibitions against the distribution of a controlled substance, the
statute is void for vagueness as applied to a prosecution for distribution of Fioricet.” (Doc.
No. 377 at 1–2.) Oz further argues, in a post-hearing memorandum, that a person of common
intelligence making his way through the applicable laws and regulations could not “unravel [the]
Gordian knot [created by the CSA and the DEA’s regulations concerning] Fioricet,” and asserts
that after reading that Fioricet is exempt for administrative purposes only, such a person of
common intelligence would conclude that he could not be prosecuted for violating the CSA
because Fioricet is not listed in any of the DEA schedules and is on the DEA’s Exempt
Prescription Products List. (Doc. No. 436 at 16.) This argument fails for the same reasons set
forth below on which the Court recommends denying Karkalas’s void-for-vagueness motion.
Oz’s motion to dismiss (Doc. No. 377) should also be denied to the extent it raises vagueness
issues.


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       B.       Misbranding under the FDCA

       Karkalas and Tumpati also argue that the “misbranding” offenses alleged in the

Indictment are unconstitutionally vague because “[a]n ordinary person . . . could not possibly

have foreseen that the writing of a prescription for a medication by a physician could somehow

amount to a ‘misbranding’ of the drug itself[.]” (Doc. No. 339 at 2; Doc. No. 379 at 2.)13 The

FDCA prohibits the introduction or delivery for introduction into interstate commerce, or the

causing of such introduction or delivery, of any drug that is “misbranded.” 21 U.S.C. § 331(a).

A person who violates this prohibition on introducing or delivering misbranded drugs in with

intent to defraud or mislead shall be imprisoned for not more than three years. 21 U.S.C.

§ 333(a)(2). As noted above, the government charged Karkalas and Tumpati with a conspiracy

to commit a violation of the FDCA by violating these misbranding provisions. (Indict., Count 1.)

       The FDCA defines the term “misbranded.” In relevant part,14 the FDCA provides the

following:

       (1) A drug intended for use by man which—

             (A) because of its toxicity or other potentiality for harmful effect, or the
             method of its use, or the collateral measures necessary to its use, is not safe
             for use except under the supervision of a practitioner licensed by law to
             administer such drug; or



13
        Karkalas and Tumpati have filed substantially identical motions and, for ease of
reference, in the remainder of this section of the Report and Recommendation, the Court will cite
only to Karkalas’ motion.
14
        The Indictment specifically references this statutory explication of circumstances in
which a drug is deemed misbranded. (See Indict., Count 1 ¶¶ 3–6, 8 (citing 21 U.S.C.
§ 353(b)(1)); id., Count 2–23 ¶ 2 (same).) The Indictment alleges that Karkalas and Tumpati
both conspired to introduce (Count 1), and that Karkalas did introduce (Counts 2-3, 8-9, 15-16,
20-21, and 23), misbranded drugs into interstate commerce when they signed or authorized sham
prescriptions for drugs that required a prescription under federal law and in circumstances where
no bona-fide doctor-patient relationship existed.


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           (B) is limited by an approved application under section 355 of this title to use
           under the professional supervision of a practitioner licensed by law to
           administer such drug;

       shall be dispensed only (i) upon a written prescription of a practitioner licensed by
       law to administer such drug, or (ii) upon an oral prescription of such practitioner
       which is reduced promptly to writing and filed by the pharmacist, or (iii) by
       refilling any such written or oral prescription if such refilling is authorized by the
       prescriber either in the original prescription or by oral order which is reduced
       promptly to writing and filed by the pharmacist. The act of dispensing a drug
       contrary to the provisions of this paragraph shall be deemed to be an act which
       results in the drug being misbranded while held for sale.

21 U.S.C. § 353(b)(1)(A)–(B). This statute plainly requires certain potentially harmful drugs to

be dispensed to patients only under the supervision of a licensed practitioner and only where that

practitioner provides a prescription for such a drug. Id. A practitioner provides the required

“prescription” in compliance with this statute only when a bona fide physician-patient

relationship exists between the practitioner, who gives the order for use of a drug, and the patient

for whom the order is prepared. United States v. Smith, 573 F.3d 639, 650–53 (8th Cir. 2009)

(concluding that 21 U.S.C. § 353(b)(1) requires certain drugs to be dispensed only by a “valid

prescription,” and that “a valid prescription requires a bona fide physician-patient

relationship”).15 Thus, the FDCA makes it a crime for a person to introduce or deliver, or cause

to be introduced or delivered, a drug that is “misbranded” because the drug was administered




15
        In Smith, the Eighth Circuit relied on several other cases to reach its conclusion that 21
U.S.C. § 353(b)(1) requires any prescription issued to be a valid one, including: United States v.
Nazir, 211 F. Supp. 2d 1372, 1374–78 (S.D. Fla. 2002) (explaining that the use of “prescription”
in 21 U.S.C. § 353(b)(1) requires a bona fide doctor-patient relationship, and where a practitioner
writes a “phony” prescription without such a relationship, the practitioner has dispensed a drug
contrary to the statute’s provisions and such a drug is misbranded); and Brown v. United States,
250 F.2d 745, 746–47 (5th Cir. 1958) (“[For charges that a defendant violated 21 U.S.C.
§ 353(b)(1)] [t]he [jury’s] inquiry whether there was a bona fide relationship of patient and
doctor bears on the question whether there had ever been a ‘prescription’ for the [purchaser of
the drug].”).


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without a valid prescription. See 21 U.S.C. § 331(a); 21 U.S.C. § 333(a) (providing penalties for

violations of 21 U.S.C. § 331).

       Karkalas and Tumpati argue that when read together these statutory sections are

collectively unconstitutionally vague because an ordinary person, considering the ordinary

meaning of “misbranding,” would not “conclude that ‘misbranding’ includes ‘dispensing’

without a prescription, [and] still would have not statutory guidance to conclude that merely

writing a prescription (whether ‘valid’ or not) somehow constitutes ‘dispensing.’” (Doc. No. 339

at 3–4.) The Court disagrees. The misbranding statutes provide a “person of ordinary

intelligence a reasonable opportunity to know what is prohibited, so that he may act

accordingly.” Washam, 312 F.3d at 929. Section 331(a) plainly prohibits a person from

introducing or delivering, or causing the introduction or delivery into interstate commerce, of

any drug that is “misbranded.” The FDCA does not leave a person guessing as to what it means

for a drug to be “misbranded.” A plain reading of Section 353(b)(1) shows that certain

potentially toxic or harmful drugs must be dispensed with a prescription or else they are deemed

“misbranded.” And because dispensing such a drug with a prescription requires there to be a

bona fide doctor-patient relationship, where a person writes a prescription for such a drug for

another in the absence of a bona fide doctor-patient relationship, he has dispensed that drug

contrary to the provisions of Section 353(b)(1), thereby rendering it “misbranded.” Thus, these

statues provide reasonable notice to an ordinary person that he is prohibited from causing the

introduction in interstate commerce of a potentially harmful drug that is deemed “misbranded”

because he wrote a sham prescription for the drug, thereby dispensing it contrary to the FDCA.

       Karkalas and Tumpati appear to contend that even if “dispensing” a drug might include

the acts of distributing, shipping, or selling that drug to online customers, thereby rendering it



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misbranded under Section 353(b)(1), a person of ordinary intelligence reading that statute would

not know that he had “dispensed” a drug merely by writing a prescription. (See Doc. No. 339 at

5 (“Nothing in this Indictment, however, or in any of the very voluminous discovery, accuses

Defendant Karkalos of ‘selling’ or ‘dispensing’ drugs.”).) This argument is unpersuasive. First,

the Indictment charges Karkalas and Tumpati with violating the FDCA by causing, or conspiring

to cause, misbranded drugs to be introduced in interstate commerce. The Indictment further

alleges that as part of this conspiracy Tumpati and Karkalas both authorized sham prescriptions

for drugs that were required to be administered under the supervision of a physician (Doc. No. 5

¶¶ 27–28), and those drugs were ultimately distributed to an undercover investigator in

Minnesota (id. ¶ 57). Thus, Karkalas and Tumpati, by virtue of writing the prescriptions in the

absence of a bona fide doctor-patient relationship as part of this alleged conspiracy, engaged in

conduct that rendered the prescription drugs misbranded.

       Moreover, Karkalas and Tumpati’s argument relies upon an incomplete reading of the

term “dispense” as it is used in Section 353(b)(1). As noted above, under that provision, “[t]he

act of dispensing a drug contrary to the provisions in this paragraph [including requiring valid

prescriptions] shall be deemed to be an act which results in the drug being misbranded while held

for sale.” 21 U.S.C. § 353(b)(1). The common meaning of “dispense” includes not only the

distribution, sale, or shipment of an object, but also includes “to put up (a prescription or

medication),” Dispense, Webster’s Third New International Dictionary 653 (1993), or “to

portion out,” Dispense, The Merriam-Webster Dictionary 207 (New Ed. 2004). The act of

writing a prescription for a drug portions out that drug or puts up the medication for a patient’s

use. Writing a prescription for a drug thus falls within these common uses of the term

“dispense.” Because it is contrary to the requirements of Section 353(b)(1) to “dispense” a



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covered medication by writing a sham prescription for that medication where there is no bona

fide doctor-patient relationship, Defendants’ alleged conduct would result in that medication

being deemed misbranded. As a result, by writing such a sham prescription so that misbranded

drugs would be distributed to the undercover agents and customers as alleged in the Indictment,

Defendants Karkalas and Tumpati would have caused misbranded drugs to be introduced into

interstate commerce. See 21 U.S.C. § 331(a). Read together, Sections 331(a) and 353(b)(1)

therefore “define the criminal offense with sufficient definiteness that ordinary people can

understand what conduct is prohibited and in a manner that does not encourage arbitrary and

discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352, 357–58 (1983).

       Karkalas and Tumpati also argue that “by the Government’s theory of prosecution even

mere negligence in the approval of a prescription for a regulated medication might land a doctor

in prison under this misbranding theory.” (Doc. No. 339 at 5.) Defendants do not explain why

negligent approval of a prescription is a possibility under the charging theory involved in this

case. Nor does the Indictment make a conviction for negligent conduct a possibility. The

conspiracy charge in Count 1 of the Indictment indicates that the named Defendants engaged in

the alleged conduct “with the intent to defraud and mislead” and relies on 21 U.S.C. § 333(a)(2),

which includes such fraudulent intent language. (Indict., Count 1, ¶ 10.) Similarly, Counts 2

through 23, which include the non-conspiracy FDCA charges against Karkalas, also allege that

the named Defendants caused the introduction of misbranded drugs into interstate commerce

with the intent to defraud and mislead. (See id., Counts 2–23, ¶ 2 (also referencing 21 U.S.C.

§ 333(a)(2)).) Thus, with respect to the charged violations of the FDCA, the Defendants cannot

be convicted upon a mere showing that they acted negligently in approving a prescription. The

government has to show that the Defendants intended to defraud and mislead by their conduct.



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        Courts have rejected void-for-vagueness challenges to the FDCA’s misbranding

provisions in other cases involving charges that drugs were dispensed without a valid

prescription. See United States v. Forester, 346 F.2d 685, 685 (4th Cir. 1965) (per curiam)

(finding no error in the district court’s conclusion that provisions of the FDCA requiring drugs to

be dispensed only upon a doctor’s prescription, including 21 U.S.C. § 353(b)(1), were not

unconstitutionally vague and uncertain); see also United States v. Travia, 180 F. Supp. 2d 115, 1

(D.D.C. 2001) (concluding that misbranding provisions of the FDCA were not unconstitutionally

vague as applied to a case charging the defendants with distributing misbranded prescription

drugs—nitrus oxide—in violation of 21 U.S.C. §§ 331(a), 333(a)(1), and 353(b)(1) and

explaining that these provisions “are not so vague or standardless that the ordinary public is left

uncertain as to what is prohibited”).

        Like those courts, this Court concludes that a person of ordinary intelligence can read the

relevant statutory provisions forming the basis of the misbranding charges in this Indictment and

reasonably understand whether the conduct these defendants are charged with engaging in is

prohibited. For all the reasons discussed above, the FDCA misbranding charges are not so

standardless that they cannot be understood or lend themselves to arbitrary enforcement.

III.    Tumpati’s Motion to Dismiss at Docket Number 380

        Defendant Tumpati “moves this Court to dismiss the indictment against him.” (Doc.

No. 380 at 1.) In his motion, Tumpati discusses how he received medical training in India and

the United States and became involved with telemedicine and, specifically with RX Limited in

2008 while looking for additional employment opportunities. (Id. at 1–2.) Tumpati asserts that

he was told that RX Limited did not deal with controlled substances and that it was legal for him

to write prescriptions for such medications. (Id. at 2.) He worked part-time for RX Limited by



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reviewing patient medical questionnaires. (Id. at 2–3.) Tumpati made “assessment[s]” based on

the patient’s medical history and other information provided on the questionnaires. (Id. at 4–5.)

He received income for his RX Limited work through wire transfers. (Id. at 5.) Tumpati states

that he stopped working for RX Limited in 2011 when he learned that in his State of residence,

Pennsylvania, the Board of Medicine was contemplating changing its rules to begin regulating

Fioricet (id.), which, although Tumpati does not state as much in his motion, is apparently

among the medications that he prescribed as a result of the assessments he made based on the

information in the patient questionnaires he reviewed. The Board advised him to cease his work

with RX Limited, and he asserts that he followed their advice. (Id.)

       Tumpati first argues that the Indictment fails to state an offense against him because “the

indictment in this case rests on the fact that through the process described [in his motion, he]

prescribed Fioricet,” but Fioricet is exempt from the relevant portions of the CSA by 21 C.F.R.

§ 1308.32 and the Exempt Prescription Products List. (Doc. No. 380 at 6.) Tumpati

acknowledges that he is charged with a count of conspiracy to violate the FDCA and one count

of conspiracy to commit mail fraud and wire fraud. (Id. at 1.) He is not charged with violating

the CSA. Thus, it is unclear why any alleged exemption from the operation of the CSA would

have anything to do with the charges against him under the FDCA. Moreover, as described

above in the portion of this Report and Recommendation addressing the motions to dismiss for

failure to state an offense under the CSA, see Part I, supra, Fioricet is not exempted from the

application of the criminal provisions of the CSA. This first argument provides no basis to

dismiss the FDCA charges against Tumpati.

       Second, Tumpati argues that the charges that he conspired to violate the FDCA, which

are alleged in Count 1 of the Indictment, should be dismissed because “the indictment only lists



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some factors that can be used to determine whether such a relationship exists[,]” and that “the

FDCA does not specifically define what a bona fide physician-patient relationship is.” (Doc.

No. 380 at 8.) The misbranding theory alleged in Count I asserts that the Defendants, including

Tumpati, conspired to distribute, deliver, or dispense misbranded drugs by writing prescriptions

for medications that can only be dispensed to patients under the supervision of a physician who

has had in-person contact with those patients. Because the Government alleges that the

Defendants, like Tumpati, wrote prescriptions for potentially harmful drugs without having in-

person contact with those patients, they lacked the bona fide doctor-patient relationship required

by the FDCA, and thus the drugs would be deemed misbranded. Tumpati provides no support

for his apparent assertion that the government cannot adequately charge a physician with a

misbranding offense under such a theory unless the Government alleges that none of the other

factors relevant to the existence of a bona fide doctor-patient relationship were present.

       Further, Tumpati argues that he cannot be prosecuted for prescribing Fioricet because he

stopped prescribing before the Pennsylvania Board of Medicine changed its rules to begin

regulating Fioricet. (Doc. No. 380 at 8.) Tumpati offers no legal support for this argument. At

best, Tumpati’s decision to stop prescribing Fioricet through RX Limited when the Pennsylvania

State Board of Medicine began considering regulating the drug may be relevant to the jury’s

consideration of whether the government meets its burden to establish that Tumpati is guilty of

the charged conspiracy. But this argument presents no basis for dismissing any portion of the

Indictment.

       Finally, Tumpati makes no argument at all concerning why the conspiracy to commit

mail and wire fraud charge against him in Count 24 of the Indictment should be dismissed.

Accordingly, his motion to dismiss Count 24 should be denied.



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          For all the foregoing reasons, Tumpati’s motion to dismiss (Doc. No. 380) should be

denied.

IV.       Karkalas’s Motion to Dismiss Certain Counts for Violating Due Process Rights at
          Docket Number 353

          A.     The motion

          Defendant Elias Karkalas moves to dismiss counts 61-62, 68-69, 71-73, 79-80, and 82-83

(which charge violations of the CSA) on grounds that allowing the prosecution of those counts to

go forward would violate his constitutional right under the Due Process Clause of the Fifth

Amendment as interpreted in Raley v. Ohio, 360 U.S. 423 (1959). (Doc. No. 353.) Karkalas

asserts that he “detrimentally relied on the misleading advice of various governmental actors,

including the Drug Enforcement Administration, in believing that the compound Fioricet was not

a controlled substance within the meaning of the law,” and that “[t]he fundamental fairness

inherent in the Due Process Clause forbids the Government from taking advantage of its own

deception to the manifest prejudice of [Karkalas].” (Id. at 2.) In his written, Karkalas did not

identify specific affirmative misconduct by any government official that he reasonably relied on

in his alleged distribution and dispensing of Fioricet. Instead, Karkalas asserted that he

“anticipate[d] offering further evidence and argument in support of this motion.” (Id.) Prior to

the hearing, the government opposed this motion on grounds that Karkalas (1) “fail[ed] to

provide any factual support for his contention that the Government’s prosecution is

unconstitutional, listing not one statement on which he claims he ‘detrimentally relied’”; and

(2) “even if Karkalas had attempted to provide factual support for his motion, there is a factual

question whether Karkalas relied on government statements about Fioricet and whether any

reliance would have been reasonable.” (Doc. No. 396 at 2.) Karkalas testified at the December




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8, 2015 hearing concerning the facts supporting his motion.16 His testimony is described in the

following section.

       B.      Facts relevant to the motion

       Karkalas began practicing medicine in the Commonwealth of Pennsylvania in the early

1980s and continued doing so until 2012. (Doc. No. 422, Tr. of Dec. 8, 2015 Hr’g (“Hr’g Tr.”)

71:5–14.) During that period of practicing medicine, he became familiar with the brand name

drug Fioricet. (Id. at 71:15–19.) During that time he believed that Fioricet was not a controlled

substance. (Id. at 71:20–23.)

       Karkalas identified several statements of attorneys and other pronouncements on which

he based that belief. First, in March 2012, Karkalas states that at a hearing before the

Pennsylvania State Board of Medicine, Andrew Demarest, an attorney representing the State,

told Karkalas that Fioricet was not a controlled substance. (Hr’g Tr. 71:24–72:15.)

       At an unidentified time, Karkalas also consulted with his personal attorney Mark Halpern

about whether Fioricet is a controlled substance. Halpern told Karkalas that Fioricet is not a

controlled substance. (Hr’g Tr. 72:25–73:7.) Karkalas also communicated with an attorney for

the manufacturer of Fioricet who told him that Fioricet was not a controlled substance, based

upon a representation by the DEA to the manufacturer to that effect. (Id. at 73:9–15; id. at

73:19–25.) “Several other attorneys” also told him the same thing. (Id. at 73:16–18.)




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        At the hearing, defense counsel indicated that Karkalas was testifying subject to Simmons
v. United States, 390 U.S. 377 (1968), which held that “when a defendant testifies in support of a
motion to suppress evidence on Fourth Amendment grounds, his testimony may not thereafter be
admitted against him at trial on the issue of guild unless he makes no objection.” Id. at 394.
This Court offers no opinion concerning the applicability of Simmons in this context as the
propriety of admitting any evidence at trial is a matter to be determined by the district court.


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       Karkalas also learned of on an unidentified provision of a recently passed Pennsylvania

statute that classified Fioricet as a controlled substance for purposes of Pennsylvania law.

Karkalas recalls that the preamble to that statute includes language to the effect that “the Federal

Government never designated Fioricet as a controlled substance . . .” so Pennsylvania’s

legislature felt it necessary to do so. (Hr’g Tr. 74:1–9.)

       Further, Karkalas was unaware of the Pennsylvania State Board of Pharmacy’s current

position concerning Fioricet, but he knew that its former position had been that Fioricet was not

a controlled substance, and he recalled that national pharmacy agencies teach pharmacists that

Fioricet is not a controlled substance. (Hr’g Tr. 74:15–21.)

       And finally, Karkalas believed that Fioricet was not a controlled substance because the

Drug Enforcement Agency included Fioricet in the Exempt Prescription Products List. (Hr’g

Tr. 74:22–75:5.)

       Karkalas met with representatives of the United States in February 2013 to discuss the

matters underlying this criminal case.17 (Hr’g Tr. 75:14–24.) Karkalas brought several

documents with him to that meeting. (Id. at 75:25–76:2.) He could not remember specifically

whether he brought to that meeting the two federal court orders introduced in evidence at the

hearing as Government’s Exhibit 6 and Government’s Exhibit 7. (Id. at 76:10–77:21.) He stated

that anything he brought to that meeting was to demonstrate to the federal government

representatives with whom he was meeting that his own conduct involving Fioricet was not




17
        Karkalas has brought a motion to suppress statements he made at the meetings he had
with the Government on February 20, 2013, May 6, 2013, and December 10, 2013. That motion
is the subject of a separate Report and Recommendation that addresses Karkalas’s motion to
suppress the statements he made at those meetings and other motions for severance of the
defendants’ trials.


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prohibited by the Controlled Substances Act. (See id. at 77:22–80:18; see also id. at 81:23–

83:9.)18

        C.     Raley and the entrapment by estoppel defense

        As noted above, Karkalas bases his motion on Raley v. Ohio, in which the United States

Supreme Court overturned the convictions of several defendants who had been charged with

contempt for refusing to testify before a state legislative commission regarding their suspected

communist or subversive activities. 360 U.S. at 425. Before they refused to testify, the

chairperson of that legislative commission told the defendants that they could rely on their state-

law privilege against self-incrimination and refuse to testify. Id. The chairperson’s advice about

the defendants’ right to refuse to cooperate with the commission was incorrect, and the

defendants relied on it to their detriment; the state later charged them with contempt based upon

their refusal to answer the commission’s questions. Id. at 438–39. The United States Supreme

Court reversed their convictions, concluding that “[a]fter the Commission, speaking for the State,

acted as it did, to sustain the Ohio Supreme Court’s judgment [affirming the convictions] would

be to sanction an indefensible sort of entrapment by the State—convicting . . . citizen[s] for

exercising a privilege which the State had clearly told [them] was available to [them].” Id. at

426.

18
         During the hearing Karkalas testified at length about his adamant belief, formed after
conducting his own research into the CSA’s regulations and receiving the advice of his counsel,
and for other reasons, that Fioricet was not a controlled substance and nothing he was doing was
illegal. (See generally Hr’g Tr. 82:23–101:6.) Much of this testimony relates to the
reasonableness of any conclusion Karkalas reached that what he was doing was permissible. The
Court does not recount that testimony in detail because, as described in this section, none of the
alleged statements by various government officials and non-government lawyers on which
Karkalas relies is legally sufficient to obtain dismissal of the Indictment under Raley. In other
words, the Court does not need to reach the question whether Karkalas reasonably believed that
what he was doing was legal because he fails to satisfy the other elements of the affirmative
defense of entrapment by estoppel.


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       Raley is the precursor to the defense of entrapment by estoppel, United States v. Austin,

915 F.2d 363, 366 (8th Cir. 1990), which “applies when an official tells the defendant that

certain conduct is legal, and the defendant reasonably relies on the advice and continues or

initiates the conduct.” United States v. Benning, 248 F.3d 772, 775 (8th Cir. 2001); see also

Austin, 915 F.2d at 366. “To successfully present a defense of entrapment by estoppel, [a

defendant] bears the burden of proof to demonstrate that: (1) his reliance on the government’s

statement was reasonable, and (2) the statement misled him into believing his conduct was

legal.” Benning, 248 F.3d at 775 (citing Austin, 915 F.2d at 366). A government official “must

be guilty of affirmative misconduct in order for a defendant to put forth a viable defense of

entrapment by estoppel.” Id. (citing United States v. Bazargan, 992 F.2d 844, 849 (8th Cir.

1993); United States v. LaChapelle, 969 F.2d 632, 637 (8th Cir. 1992)).

       D.      Analysis

       After the December 8, 2015 hearing, Karkalas submitted additional briefing in support of

his motion to dismiss based on Raley. (Doc. No. 437 at 2–5.) In the discussion below, the Court

addresses the arguments raised in that post-hearing submission.

       First, although it is unclear whether Karkalas contends that prosecuting him for violations

of the CSA would violate his rights to due process under Raley based on statements he attributes

to his personal attorney, Mark Halpern,19 to the extent he does base his motion on Halpern’s

advice, such an argument lacks merit. Karkalas presents no case indicating that dismissal under

Raley or an entrapment by estoppel defense can be based upon the statement of a non-



19
        Karkalas also testified that he spoke to his personal attorney Robert Levy concerning the
applicability of the CSA to Fioricet. (Hr’g Tr. 85:10–13.) The Court’s comments regarding
Halpern’s advice to Karkalas applies with equal force to anything Karkalas may have been told
by his personal attorney Robert Levy.


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governmental actor. There is no evidence that Halpern, or any other personal attorney identified

by Karkalas, made any representation to Karkalas on behalf of the United States Government.20

To show that charging a person with a crime would violate his constitutional rights under Raley

and the entrapment by estoppel defense, the statements on which the person relies have to be

made by a government official. Cf. United States v. Hullette, 525 F.3d 610 (8th Cir. 2008)

(noting that several decisions have foreclosed the argument “that a federally licensed firearms

dealer is a government official whose representation give rise to an entrapment by estoppel

defense”); see also United States v. Ramirez Valencia, 202 F.3d 1106, 1109 (9th Cir. 2000)

(requiring an affirmative statement by an authorized government official that the defendant’s

conduct was lawful under federal law).

       In his post-hearing submission, Karkalas relies primarily on two asserted government

statements to support his entrapment-by-estoppel defense: (1) the statements to the effect that

Fioricet was not a controlled substance that Karkalas attributes Andrew Demarest, an attorney

representing the Commonwealth of Pennsylvania and the State Board of Medicine; and (2) the

DEA’s inclusion of Fioricet on the Exempt Prescription Products List. (Doc. No. 437 at 3–4.)

With respect to attorney Demarest’s purported statements regarding Fioricet’s status as a

controlled substance, Karkalas cannot show a violation of his federal constitutional right to due

process under Raley where he claims to have relied on a state official’s advice about federal law.

20
        For the same reason that he cannot base his due process challenge on the statements of
his own private attorneys, Karkalas cannot rely on the discussions he had with attorneys
representing the manufacturer of Fioricet to support his Raley motion. (See Doc. No. 437 at 4
(“[Karkalas] even spoke with a lawyer for the manufacturer who confirmed that the Drug
Enforcement Administration had provided the manufacturer with documentation that Fioricet
was not a controlled substance.”).) The purported statements of a lawyer for a private drug
manufacturer representing what was communicated to the manufacturer by the DEA is not a
sufficient showing of affirmative misconduct by a government official in a direct statement to the
defendant that can form the basis of the Raley defense.


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See United States v. Achter, 52 F.3d 753, 755 (8th Cir. 1995) (providing that a defendant is not

“entitled to rely on representations by state or local officials because these officials lacked the

authority to bind the federal government to an erroneous interpretation of federal law”) (citing

United States v. Brebner, 951 F.2d 1017, 1026–27 (9th Cir. 1991)); see also United States v.

Perry, No. 12-CR-50-LRR, 2012 WL 3597210, at *2 (N.D. Iowa Aug. 20, 2012) (citing cases

holding that entrapment-by-estoppel defense for a federal prosecution is unavailable where the

statements were made by a state or local official).

       The inclusion of Fioricet on the Exempt Prescription Products List does not amount to a

statement by a government official that Karkalas’s conduct was lawful and upon which he could

reasonably rely. In United States v. Benning, 248 F.3d 772, 775 (8th Cir. 2001), the Eighth

Circuit Court of Appeals concluded that the defendant could not succeed on an entrapment by

estoppel defense to felon-in-possession charges where no government official expressly

informed him that he could legally own a firearm where he claimed to have relied on language in

an ATF form to obtain firearms and failed to conduct a reasonable investigation into that

language. 248 F.3d at 776. Here as in Benning, Karkalas “[a]t most . . . suffered from a lack of

explanation rather than an affirmative misleading interpretation of the statute” provided to him

by a government official. Benning, 248 F.3d at 776.

       Karkalas’s Motion to Dismiss All Counts Alleging Distribution of Controlled Substances

as Violative of Due Process (Doc. No. 353) should be denied.

V.     The Government’s Motion to Dismiss Certain Counts at Docket Number 395 and
       Oz’s Motion to Dismiss Duplicative Counts at Docket Number 376

       Defendant Oz filed a motion seeking dismissal of either counts 61-72 or counts 73-83 on

grounds that each group duplicates the other and alleges the same conduct. (Doc. No. 376, Def.

Oz’s Mot. to Dismiss Multiplicitous Counts.) The government also filed a motion to dismiss

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asserting that “[b]ased on a review of the record, the government has concluded that it is in the

interests of justice not to pursue Counts 61-72, but rather to continue the prosecution of Counts

73-83, which describe violations of the [Controlled Substances Act].” (Doc. No. 395, Gov’t’s

Mot. to Dismiss Counts 61-72 Pursuant to Fed. R. Crim P. 48(a).) However, the government

seeks to preserve paragraphs 1 through 6 of Counts 61-72, which the grand jury incorporated into

Counts 72-83. (Id. ¶ 6.)

       Defendant Oz did not oppose the government’s motion. (Id. ¶ 8.) At the December 8,

2015 hearing on the motions, counsel for Oz indicated that Oz agrees the motion is moot. Oz

introduced the caveat to his agreement that any dismissal of Counts 61-72 must be with

prejudice. Counsel for the government agreed that the dismissal of Counts 61-72 should be with

prejudice, so long as that dismissal is subject to the government’s indication that paragraphs 1

through 6 of Counts 61-72 not be deemed “dismissed” as those paragraphs were incorporated

into other Counts in the Indictment.

       Based on the government’s motion and Oz’s non-opposition, and subject to the

qualifications counsel for the parties identified at the hearing, this Court recommends that the

government’s motion (Doc. No. 395) be GRANTED and Counts 61-72 be dismissed with

prejudice. However, paragraphs 1 through 6 in Counts 61-72, should not be deemed to be

subject to this dismissal.

VI.      Recommendation

       Based on the foregoing, the Court HEREBY RECOMMENDS that:

       1.      Defendant (8) Elias Karkalas’s motion to dismiss certain counts for failure to state

an offense (Doc. Nos. 340), be DENIED




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       2.      Defendant (2) Moran Oz’s motion to dismiss certain counts for failure to state an

offense (Doc. No. 377) be DENIED;

       3.      Defendant (8) Elias Karkalas’s motion to dismiss certain counts as void for

vagueness (Doc. No. 339) be DENIED;

       4.      Defendant (9) Prabhakara Rao Tumpati’s motion to dismiss certain counts as void

for vagueness (Doc. No. 379) be DENIED;

       5.      Defendant (9) Prabhakara Rao Tumpati’s motion to dismiss (Doc. No. 380) be

DENIED;

       6.      Defendant (3) Babubhai Patel’s motion to join (Doc. No. 417) be DENIED;

       7.      Defendant (8) Elias Karkalas’s motion to dismiss certain counts for violating due

process rights (Doc. No. 353) be DENIED;

       8.      Defendant (2) Moran Oz’s motion to dismiss duplicative counts (Doc. No. 376)

be DENIED AS MOOT; and

       9.      The Government’s motion to dismiss Counts 61-72 (Doc. No. 395) be

GRANTED, except that paragraphs 1 through 6 of Counts 61-72 should not be deemed

“dismissed” as they are incorporated into other Counts that remain in the Indictment.


Date: February 1, 2016
                                                     s/ Jeffrey J/ Keyes
                                                    JEFFREY J. KEYES
                                                    United States Magistrate Judge


                                           NOTICE

        Filing Objections: This Report and Recommendation is not an order or judgment of the
District Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under Local Rule 72.2(b)(1), “a party may file and serve specific written objections to a
magistrate judge’s proposed finding and recommendations within 14 days after being served a

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copy” of the Report and Recommendation. A party may respond to those objections within 14
days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set for in LR 72.2(c).

        Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.




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